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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION

NATIONAL ASSOCIATION FOR THE
ADVANCEMENT OF COLORED PEOPLE;
MISSISSIPPI STATE CONFERENCE OF
THE NATIONAL ASSOCIATION FOR THE
ADVANCEMENT OF COLORED PEOPLE;
JACKSON CITY BRANCH OF THE NAACP;
DERRICK JOHNSON; FRANK FIGGERS;
CHARLES TAYLOR; MARKYEL PITTMAN;
CHARLES JONES; and NSOMBI
LAMBRIGHT-HAYNES                                                                    PLAINTIFFS

vs.                                              CIVIL ACTION No.: 3:23-CV-272-HTW-LGI

TATE REEVES, in his official capacity as
Governor of the State of Mississippi; SEAN
TINDELL, in his official capacity as
Commissioner of Public Safety; BO LUCKY,
in his official capacity as Chief of Mississippi
Department Public Office of Capitol Police;
MICHAEL K. RANDOLPH, in his official
Capacity as Chief Justice of the Mississippi
Supreme Court; and LYNN FITCH, in her
official capacity as Attorney General of the
State of Mississippi                                                               DEFENDANTS


                                              ORDER



       On this day, May 4, 2023, the Chancery Court of Hinds County, Mississippi, entered a

preliminary injunction [Docket no. 21-1] ordering that the “effectuation of the provisions of House

Bill 1020 be stayed until a full hearing is had on the matter and a ruling is issued, or until May 14,

2023, at 5:00 p.m., whichever shall occur first.” The next hearing in Hinds County Chancery Court

on this matter is currently scheduled for Wednesday, May 10, 2023 [See Docket no. 20, p. 2].




                                                  1
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         This Court, accordingly, hereby cancels its previously set Hearing for May 5, 2023, at 1:30

PM, regarding Plaintiff’s Necessitous and Urgent Motion for a Temporary Restraining Order

[Docket no. 11]. This Court further cancels its previously scheduled Hearing for May 5, 2023, at

9:30 AM, regarding the issue if Judicial Immunity, as it applies to Defendant Chief Justice Michael

K. Randolph 1. These Hearings shall be reset for a later date and time, should this Court find such

a course of action to be necessary.


                  SO ORDERED this the 4th day of May, 2023.

                                             /s/HENRY T. WINGATE
                                             UNITED STATES DISTRICT COURT JUDGE




1
 The State Court ordered that the Chief Justice’s Motion to Dismiss based on judicial immunity it be heard first
during its May 10, 2023, Hearing.

                                                         2
